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   1
             82.    Plaintiff seeks to enjoin further unlawful and/or unfair practices by Fiat
   2
       under California Business and Professions Code §§ 17200 et seq.
   3
                                     PRAYER FOR RELIEF
   4
             WHEREFORE, Plaintiff prays for the following relief:
   5
             1.     For an order certifying that the action may be maintained as a Class Action
   6
       as defined herein and appointing Plaintiff and his counsel of record to represent the
   7
       defined Class;
   8         2.     For a preliminary injunction requiring Fiat to reinstate all lifetime
   9   powertrain warranties and lifetime service contracts and to comply with their
  10   requirements and notify all vehicle owners that their warranties and service contracts
  11   will be honored while this action is pending;
  12         3.     For a permanent injunction requiring Fiat to reinstate all lifetime
  13   powertrain warranties and lifetime service contracts and to comply with their
  14   requirements and notify all vehicle owners that their warranties and service contracts
  15   will be honored pursuant to their terms and conditions;
  16         4.     For restitution and disgorgement of profits;
  17         5.     For damages including treble and/or punitive damages;
  18         6.     For reasonable attorney’s fees and costs, pursuant to California Code of
  19   Civil Procedure § 1021.5, and other statutes as may be applicable;
  20         7.     For prejudgment interest to the extent allowed by law;
  21         8.     For costs of suit incurred herein; and
  22         9.     For such other and further relief as the Court deems appropriate.
  23   Dated: April __,
                     16 2021            CARROLL, KELLY, TROTTER & FRANZEN
  24
                                               By:___/s/Michael J. Trotter___________
  25                                               Michael J. Trotter, Esq.
                                                  Attorneys for Plaintiff Donald Hall
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                                                 - 22 -
                                       COMPLAINT (CLASS ACTION)
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   1                            DEMAND FOR JURY TRIAL
   2        Plaintiff hereby demands a jury trial for all claims so triable.
   3

   4                16 2021
       Dated: April __,         CARROLL, KELLY, TROTTER & FRANZEN
   5
                                             By:_/s/Michael J. Trotter_____________
   6                                             Michael J. Trotter, Esq.
                                                Attorneys for Plaintiff Donald Hall
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                                     COMPLAINT (CLASS ACTION)
